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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

HEATHER RENEE HAACK,

                   Plaintiff,                     Case No. 16-cv-14304

v.                                                Paul D. Borman
                                                  United States District Judge
COMMISSIONER OF
SOCIAL SECURITY,                                  Anthony P. Patti
                                                  United States Magistrate Judge
               Defendant.
_________________________/

     OPINION AND ORDER (1) ADOPTING MAGISTRATE JUDGE PATTI’S
      MARCH 1, 2018 REPORT AND RECOMMENDATION (ECF NO. 19),
                    (2) DENYING PLAINTIFF’S MOTION
                FOR SUMMARY JUDGMENT (ECF NO. 13),
                  (3) GRANTING DEFENDANT’S MOTION
                FOR SUMMARY JUDGMENT (ECF NO. 17),
               (4) OVERRULING PLAINTIFF’S OBJECTIONS
             TO THE MAGISTRATE JUDGE’S MARCH 20, 2018
              REPORT AND RECOMMENDATION (ECF NO. 24)
       (5) ADOPTING MAGISTRATE JUDGE PATTI’S MARCH 20, 2018
            REPORT AND RECOMMENDATION (ECF NO. 23), and
      (6) DENYING PLAINTIFF’S MOTION FOR REMAND (ECF NO. 21)

       This matter is before the Court on two separate Report and Recommendations

issued by Magistrate Judge Anthony P. Patti: (1) March 1, 2018 Report and

Recommendation to Deny Plaintiff’s Motion for Summary Judgement and Grant

Defendant’s Motion for Summary Judgment (ECF No. 19); and (2) March 20, 2018



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 Report and Recommendation to Deny Plaintiff’s Motion for Remand Pursuant to

 Sentence Six of § 405(g) (ECF No. 23). Plaintiff did not file objections to the March

 1, 2018 Report but has filed objections to the March 20, 2018 Report. (ECF No. 24,

 Objections.) Defendant has filed a Response to the Plaintiff’s Objections. (ECF No.

 25, Response to Objections.)

       Having reviewed the March 1, 2018 Report to which no timely objections were

 filed under 28 U.S.C. § 636(b)(1) and E.D. Mich L.R. 72.1(d), the Court ADOPTS the

 Magistrate Judge’s March 1, 2018 Report, GRANTS Defendant’s Motion for

 Summary Judgment (ECF No. 18), and DENIES Plaintiff’s Motion for Summary

 Judgment (ECF No. 17).

      Having conducted a de novo review, pursuant to 28 U.S.C. § 636(b)(1), of those

parts of the Magistrate Judge’s March 20, 2018 Report to which specific objections

have been filed, the Court OVERRULES Plaintiff’s objections, ADOPTS the

Magistrate Judge’s March 20, 2018 Report, DENIES Plaintiff’s Motion for a Sentence

Six Remand, and AFFIRMS the findings of the Commissioner.

I.    BACKGROUND

      Plaintiff initially filed her application for Social Security Disability Insurance

(“DIB”) Benefits and Supplemental Security (“SSI”) Benefits on June 29, 2009,

alleging a disability onset date of May 22, 2009. On April 21, 2011Administrative


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Law Judge (“ALJ”) Poulose issued a decision denying benefits. (ECF No. 19,

Transcript of Administrative Proceedings (“Tr.”) 165-80.) On August 21, 2012,

Plaintiff reapplied for benefits alleging an onset date of April 22, 2011. (Tr. 322-34.)

On November 29, 2013, ALJ Melvyn Kalt issued a decision granting Plaintiff a closed

period of disability, but that decision was vacated by the Appeals Council and the

matter was remanded for de novo hearing. (Tr. 215-33, 236-40.)

      On June 17, 2015, ALJ Patricia S. McKay held a hearing on remand and

determined that Plaintiff, who was represented by counsel at the hearing, had

experienced a worsening of her condition since ALJ Poulose issued her decision,

resulting in a change in her residual function capacity (“RFC”), but concluded that

Plaintiff still was not disabled under the Social Security Act. (Tr. 14-31, 65-164.) On

October 27, 2016, the Appeals Council denied Plaintiff’s request for a review of ALJ

McKay’s decision, and Plaintiff timely filed in this Court seeking judicial review of

the Commissioner’s final decision.

      On March 1, 2018, Magistrate Judge Patti issued his Report resolving the

parties’ cross-motions for summary judgment, recommending the Court grant

Defendant’s motion and deny Plaintiff’s motion. Plaintiff did not file objections to the

March 1, 2018 Report. On March 1, 2018, Plaintiff filed a “Motion for Remand to

Consider New Evidence or Alternatively to Allow This Record to Be Expanded.”


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(ECF No. 18.) This filing was incomplete and incomprehensible and the Court issued

an Order on March 7, 2018 striking the filing. (ECF No. 20.) On March 12, 2018,

Plaintiff filed a document titled “Motion for Reconsideration” with an attached brief

entitled “Brief in Support of Plaintiff’s Motion for Remand to Consider New

Evidence.” (ECF No. 21.) The Court construed this filing as a Motion for Remand to

Consider New Evidence and referred the motion to Magistrate Judge Patti for a Report

and Recommendation. (ECF No. 22.) Plaintiff has expressly stated that she “does not

object to the Magistrate construing the [Motion for Reconsideration] as one for a

sentence six remand under 42 U.S.C. § 405(g).” (ECF No. 24, Pl.’s Objs. 2, PgID

862.)

        On March 20, 2018, Magistrate Judge Patti issued a Report and

Recommendation to Deny Plaintiff’s Motion for Remand Pursuant to Sentence Six and

the Plaintiff has now filed objections to that Report. Defendant has filed a Response

to the Objections. The Court concludes, for the reasons discussed below, that the

Magistrate Judge correctly resolved the Motion for Remand, and overrules Plaintiff’s

objections. The ALJ’s findings and relevant matters from the administrative record are

adequately set forth in the Magistrate Judge’s Report and will be referenced in this

Opinion and Order as necessary to the Court’s analysis of the Plaintiff’s Objections.




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II.   STANDARD OF REVIEW

      Pursuant to Federal Rule of Civil Procedure 72(b) and 28 U.S.C. § 636(b)(1),

the Court conducts a de novo review of the portions of the Magistrate Judge’s Report

and Recommendation to which a party has filed “specific written objection” in a timely

manner. Lyons v. Comm’r Soc. Sec., 351 F. Supp. 2d 659, 661 (E.D. Mich. 2004). A

district court “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). Only those

objections that are specific are entitled to a de novo review under the statute. Mira v.

Marshall, 806 F.2d 636, 637 (6th Cir. 1986). “The parties have the duty to pinpoint

those portions of the magistrate’s report that the district court must specially consider.”

Id. (quotation marks and citation omitted). “A general objection, or one that merely

restates the arguments previously presented is not sufficient to alert the court to alleged

errors on the part of the magistrate judge.” Aldrich v. Bock, 327 F. Supp. 2d 743, 747

(E.D. Mich. 2004). “‘[B]are disagreement with the conclusions reached by the

Magistrate Judge, without any effort to identify any specific errors in the Magistrate

Judge’s analysis that, if corrected, might warrant a different outcome, is tantamount to

an outright failure to lodge objections to the R & R.’” Arroyo v. Comm’r of Soc. Sec.,

No. 14-cv-14358, 2016 WL 424939, at *3 (E.D. Mich. Feb. 4, 2016) (quoting Depweg

v. Comm'r of Soc. Sec., No. 14-11705, 2015 WL 5014361, at *1 (E.D. Mich. Aug. 24,


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2015) (citing Howard v. Secretary of Health & Human Services, 932 F.2d 505, 509

(6th Cir. 1991)).

III.   ANALYSIS

       A.    The Motion for Remand is Procedurally Improper

       On March 12, 2018, Plaintiff filed a motion seeking a sentence six remand to

permit consideration of “newly discovered evidence,” which consisted of a summary

of an April 12, 2017 Neuropsychological Examination of the Plaintiff conducted by

Ennis Berker, PhD.1 (ECF No. 21, Pl.’s Mot. Remand Ex. A, April 12, 2017

Neuropsychological Examination Summary prepared by Ennis Berker, PhD.) As an

initial matter, the Court finds that Plaintiff’s motion for a sentence six remand, filed on

March 12, 2018, nearly nine months after the parties had submitted their summary

judgment motions, and after the Magistrate Judge had issued his March 1, 2018 Report

resolving those summary judgment motions, was procedurally improper. See Wilkins

v. Comm’r of Soc. Sec., No. 13-12425, 2014 WL 2061156, at *15 (E.D. Mich. May 19,

2014) (finding that “plaintiff’s motion for [sentence six] remand, filed after and in

addition to her motion for summary judgment, is procedurally improper”) (Roberts, J.)


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  The Court’s analysis in this Opinion and Order relates solely to the Plaintiff’s
Objections to the Magistrate Judge’s March 20, 2018 Report recommending denial of
Plaintiff’s motion for a sentence six remand. No objections were filed by either party
to the Magistrate Judge’s March 1, 2018 Report (ECF No. 19), which the Court has
reviewed and adopts in full in this Opinion and Order.

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(adopting Report and Recommendation of Hluchaniuk, MJ); Emmons v. Comm’r of

Soc. Sec., No. 12-15235, 2014 WL 1304936, at *1 (E.D. Mich. Feb. 13, 2014)

(Michelson, MJ) (denying a motion for a sentence six remand, filed after plaintiff had

filed a motion for summary judgment, as a procedurally improper second motion for

summary judgment), adopted at 2014 WL 1304938, at *2 (E.D. Mich. March 31,

2014). The Court concludes that the Plaintiff’s March 12, 2018 Motion to Remand is

a procedurally improper second motion for summary judgment.

      B.     Even Assuming the Motion to Remand Was Procedurally Proper,
             Plaintiff Has Failed to Demonstrate that the Magistrate Judge Erred
             in Substantively Denying Plaintiff’s Motion for a Sentence Six
             Remand

       The Court can remand for further proceedings pursuant to Sentence Six of 42

U.S.C. § 405(g) “if a claimant shows that the evidence is new and material, and that

there was good cause for not presenting it in the prior proceeding.’” Foster v. Halter,

279 F.3d 348, 357 (6th Cir. 2001). Even if Plaintiff’s motion for a sentence six remand

was not procedurally improper, she has failed to demonstrate that the Magistrate Judge

erred in concluding that she substantively failed to carry her burden to establish that

the “new evidence” was material and that there was good cause for failing to obtain

such evidence earlier.




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      “For the purposes of a 42 U.S.C. § 405(g) remand, evidence is new only if it was

‘not in existence or available to the claimant at the time of the administrative

proceeding.’” Foster, 279 F.3d at 357 (quoting Sullivan v. Finkelstein, 496 U.S. 617,

626 (1990)). “Such evidence is “material” only if there is ‘a reasonable probability that

the Secretary would have reached a different disposition of the disability claim if

presented with the new evidence.’” Foster, 279 F.3d at 357 (quoting Sizemore v. Sec'y

of Health & Human Servs., 865 F.2d 709, 711 (6th Cir. 1988)). “Evidence of a

subsequent deterioration or change in condition after the administrative hearing is

deemed immaterial.” Wyatt v. Sec’y of Health and Human Services, 974 F.2d 680, 685

(6th Cir. 1992). Such evidence is “irrelevant and cannot justify a remand.” Id. To be

“material,” evidence must “necessarily speak to [Plaintiff’s] condition at the relevant

time.” Ferguson v. Comm’r of Soc. Sec., 628 F.3d 269, 277-78 (6th Cir. 2010) (finding

irrelevant and not material evidence of increased psychotic behavior that derived from

testing conducted “almost two years after the ALJ” held the hearing) (emphasis in

original).

      “A claimant shows “good cause” by demonstrating a reasonable justification for

the failure to acquire and present the evidence for inclusion in the hearing before the

ALJ.” Foster, 279 F.3d at 357. “[T]he burden of showing that a remand is appropriate

is on the claimant.” Id. (citing Oliver v. Sec'y of Health & Human Servs., 804 F.2d


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964, 966 (6th Cir. 1986)).

      1.     Objection Number One

      In Objection One, Plaintiff appears to challenge the Magistrate Judge’s

determination that Plaintiff failed to demonstrate a reasonable probability that the April

12, 2017 neuropsychological examination summary would have resulted in a different

disposition of Plaintiff’s disability claim. Plaintiff in essence attempts to reassert her

summary judgment argument, which was rejected by both the ALJ and the Magistrate

Judge in his March 1, 2018 Report, that Plaintiff’s depression was a medically

determinable impairment. The majority of Plaintiff’s “objection” discusses the same

evidence that was already considered by both the ALJ and the Magistrate Judge in

concluding that Plaintiff’s depression was not a medically determinable impairment

and that Plaintiff did not suffer functional limitations in addition to those included by

the ALJ in her RFC. This issue was resolved in the Magistrate Judge’s March 1, 2018

Report, to which no objections were filed, and which the Court has adopted in this

Opinion and Order. The Court will not entertain Plaintiff’s “repackaging” of this

argument here.

      In any event, Plaintiff fails to discuss or demonstrate how Dr. Berker’s April 12,

2017 neuropsychological examination summary would have resulted in a different

disposition of Plaintiff’s disability claim. Indeed, as noted below in the Court’s


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discussion of Plaintiff’s second objection, she makes no argument, and offers no

analysis in this Objection, as to how the April 12, 2017 neuropsychological

examination of the Plaintiff, which occurred nearly two years after ALJ McKay’s June

17, 2015 hearing, even relates to Plaintiff’s condition at the time of the 2015 hearing

and decision. In the April 12, 2017 neuropsychological examination report, Dr. Berker

summarizes Plaintiff’s past medical history, then sets forth her own test results from

her examination of the Plaintiff on April 12, 2017, and summarily concludes that she

“do[es] not believe that [Plaintiff] can successfully engage in productive employment,

and this is clearly consistent with her failed work history.” (Berker Summary 6, PgID

841.) Nothing in the April 12, 2017 neuropsychological examination summary

suggests how the results of Dr. Berker’s testing relate to Plaintiff’s condition at the

time of the 2015 administrative hearing and decision nearly two years prior.

      In her objections, Plaintiff summarily submits, after summarizing Dr. Berker’s

examination report, that “this new evidence supports her argument that the ALJ erred

in finding that depression was not a medically determinable impairment.” (Objs. 6,

PgID 866.) However nothing in Dr. Berker’s examination summary, or the Plaintiff’s

objections, suggests how the results of that examination relate to Plaintiff’s condition

at or around June/July 2015, or how this evidence results in “a reasonable probability

that the Secretary would have reached a different disposition of the disability claim if


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presented with the new evidence.” Foster, 279 F.3d at 357 (internal quotation marks

and citation omitted). Plaintiff made no effort, either in her motion or her objections,

to develop any argument to support this critical aspect of the materiality analysis.

      The Magistrate Judge did not err in concluding that Plaintiff failed to meet her

burden to demonstrate that there was a reasonable probability that the ALJ would have

reached a different disposition had Plaintiff presented her “new evidence” during the

relevant period. Plaintiff’s first Objection is OVERRULED.

      2.     Objection Number Two

      Plaintiff’s second objection submits that the Magistrate Judge erred in

concluding that Dr. Berker’s opinion does not relate back to show Plaintiff’s condition

at the time of the administrative hearing. (Objs. 6, PgID 866.) In support of this

objection, Plaintiff offers one single-sentence observation: “Although Dr. Berker’s

examination occurred after the ALJ’s decision on July 28, 2015, it was consistent with

the diagnosis and opinions in Plaintiff’s favor at the time.” (Id.) At most this objection

argues that Dr. Berker’s opinion is further evidence, thus cumulative in nature, of the

argument that has already been rejected by both the ALJ and the Magistrate Judge in

his March 1, 2018 Report. This perfunctory statement fails to carry Plaintiff’s burden

to establish materiality. As discussed supra, nothing in Dr. Berker’s April 12, 2017

neuropsychological examination summary suggests how the results of her 2017


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examination relate back to Plaintiff’s condition at or around June/July 2015. Plaintiff

makes no argument, and offers no analysis in this Objection, as to how the April 12,

2017 neuropsychological examination of the Plaintiff, which occurred nearly two years

after ALJ McKay’s June 17, 2015 hearing, relates to Plaintiff’s condition at the time

of the 2015 hearing and decision.

      The Magistrate Judge did not err in concluding that the Plaintiff failed to

establish that the April 12, 2017 neuropsychological examination related back to her

condition at the time of the ALJ’s hearing and decision in this matter. Plaintiff’s

second objection is OVERRULED.

      3.     Objection Number Three

      Plaintiff objects to the Magistrate Judge’s conclusion that the April 12, 2017

neuropsychological examination did not address Plaintiff’s specific functional

limitations or her ability to work during the relevant period. But Plaintiff’s objection

does not even attempt to demonstrate what specific functional limitations were

addressed in the April 12, 2017 neuropsychological examination, nor explain how any

of the findings in the April 12, 2017 neuropsychological examination mandate further

restrictions than those already accounted for by the ALJ in her decision. As the

Magistrate Judge correctly observed, “[t]he mere diagnosis of [a condition], of course,

says nothing about the severity of the condition.” Higgs v. Bowen, 880 F.2d 860, 863


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(6th Cir. 1988) (citing Foster v. Bowen, 853 F.2d 483, 489 (6th Cir. 1988) (diagnosable

impairment not necessarily disabling)). And the Magistrate Judge correctly determined

that Dr. Berker’s “opinion” that Plaintiff “cannot successfully engage in productive

employment,” is (1) stated in the present tense with no evidence that it relates to the

relevant 2015 period, and (2) opines on an issue expressly reserved to the

Commissioner, i.e. whether Plaintiff is “disabled” or “unable to work,” and therefore

is entitled to no particular weight. (Report 9-10, PgID 855-56.)

      Plaintiff objects to the Magistrate Judge’s finding that the April 12, 2017

neuropsychological examination did not address Plaintiff’s specific limitations or her

ability to work during the relevant period, but Plaintiff completely fails to demonstrate

how that was error or how the April 12, 2017 neuropsychological examination does in

fact address specific limitations. There was no error and the Plaintiff’s Third objection

is OVERRULED.

      4.     Objection Number Four

      Plaintiff objects to the Magistrate Judge’s finding that Plaintiff did not have

good cause for failing to obtain the April 12, 2017 neuropsychological examination

earlier. (Objs. 8-9, PgID 869-70.) In support of this objection, Plaintiff states that she

“can only argue that the evidence produced at the hearing shows” that she is unable to

perform everyday tasks on her bad days. (Id.) But Plaintiff offers no explanation as


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to how this “evidence” demonstrates good cause for her failure to seek an opinion from

Dr. Berker earlier. As the Magistrate Judge correctly observed in his Report, “a review

of the medical records in this case reveals that Plaintiff repeatedly attended treatment

for her impairments, at least through 2015, demonstrating her ‘ability to obtain medical

treatment when necessary.’” (March 20, 2018 Report 11-12, PgID 857-58 (quoting Van

Heck v. Comm’r of Soc. Sec., No. 06-cv-15233, 2008 WL 1808320, at *6 (E.D. Mich.

Apr. 21, 2008) and collecting cases).

      Plaintiff fails to demonstrate how the Magistrate Judge erred in reaching the

conclusion that Plaintiff did not carry her burden of establishing good cause.

Plaintiff’s fourth objection is OVERRULED.

IV.   CONCLUSION

      Plaintiff has failed to demonstrate that the Magistrate Judge erred in reaching the

conclusions in his March 20, 2018 Report that Plaintiff has failed to demonstrate the

materiality of the April 12, 2017 neuropsychological examination and failed to

establish good cause for not having obtained the neuropsychological examination

during the relevant 2015 time period. Even if Plaintiff was able to establish good

cause, she must demonstrate both materiality and good cause, and she has failed to

demonstrate the former. As the Magistrate Judge noted in his March 20, 2018 Report,

“where a claimant believes that his or her condition has worsened subsequent to the


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administrative determination, the remedy is to make a new application for benefits.”

(March 20, 2018 Report 13, PgID 859) (citing Sizemore, 865 F.2d at 712).

      Accordingly, it is ORDERED that:

      1) Magistrate Judge Patti’s March 1, 2018 Report and Recommendation (ECF
      No. 19) is ADOPTED;

      2) Plaintiff’s Motion for Summary Judgment (ECF No. 13) is DENIED;

      3) Defendant’s Motion for Summary Judgment (ECF No. 17) is GRANTED;

      4) Plaintiff’s Objections (ECF No. 24) are OVERRULED;

      5) Magistrate Judge Patti’s March 20, 2018 Report and Recommendation (ECF
      No. 23) is ADOPTED;

      6) Plaintiff’s Motion for Remand (ECF No. 21) is DENIED without prejudice
      to Plaintiff’s right to submit a new claim to the Social Security Administration
      based upon new evidence of claimed disability; and

      7) The findings of the Commissioner are AFFIRMED.


IT IS SO ORDERED.



                                      s/Paul D. Borman
                                      PAUL D. BORMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: September 28, 2018




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                          CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each
attorney or party of record herein by electronic means or first class U.S. mail on
September 28, 2018.


                                     s/Deborah Tofil
                                     Case Manager




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